 Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 1 of 14 PAGEID #: 47



                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF OHIO
                                         WESTERN DIVISION


     ANDREA GOLDBLUM                                     Case No. 1:19-CV-00398

     Plaintiff,                                          Judge: DLOTT

     v.
                                                         OPPOSITION TO MOTION TO
     THE UNIVERSITY OF CINCINNATI,                       DISMISS

     Defendant



          Plaintiff Andrea Goldblum (“Goldblum”) respectfully submits this Opposition to the Motion

to Dismiss by the University of Cincinnati (“UC”). As set forth below, Defendant’s Motion relies

primarily on a doctrine – the “manager rule”— that has been not been extended to anti-discrimination

claims in the Sixth Circuit.

                                               FACTS

          Goldblum was the former Title IX Coordinator at the University of Cincinnati. (Her official

title was Executive Director, Gender Equity & Inclusion. (Complaint ¶¶3, 14.) As the Title IX

Coordinator at UC, Goldblum was responsible for overseeing an office that fields and investigates

complaints and provides interim measures for those impacted by sexual violence and sexual

harassment. (Complaint ¶ 3(b).) In her role as Title IX Coordinator, Goldblum was an advocate to

compel UC to confront widespread sexual harassment and assault.            In light of the #MeToo

Movement, UC has acknowledged it obligation to have a safer and more inclusive campus. (Complaint

¶¶7-9.) The Complaint observes:

          In August 2108, an opinion piece in the school newspaper lauded the hiring of
          Goldblum because of her experience in supporting victims of sexual harassment and

                                                     1
 Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 2 of 14 PAGEID #: 48



        sexual assault. The article noted the importance of this experience in the #MeToo
        era: “Considering recent events surrounding the #MeToo movement, I think now is
        a good time to evaluate UC’s track record of handling Title IX situations.”

(Complaint ¶9(b).)

        She was hired by UC as the UC Title IX Coordinator in June 2018.1 Goldblum had over 30

years of experience in higher education, including previous service as the Title IX coordinator at

Kenyon College, University of the Pacific and The Ohio State University. Goldblum was responsible

for day to day applications and review of UC’s policies and practices related to Title IX, Title VII, and

other equal opportunity initiatives related to sex and gender. She was also responsible for oversight

of compliance with Title IX by UC and for providing support and resources to students who were

affected by potential violations of Title IX. Her job duties included: (i) coordinating responses to

Title IX issues and laws including response to reported incidents and to investigate complaints

regarding Title IX incidents; (ii) providing recommendations to ensure the safety of those reporting

violations as well as the school community; (iii) providing consultation strategy, and communications

to senior management, including her direct supervisor, Dr. Bleuzette Marshall, (“Marshall”); and (iv)

collaborating with university divisions to develop and facilitate safety and advocacy programs for the

students at the university related to her position. (Complaint ¶15.)




    1
      The position of UC Title IX Coordinator has a checkered past and UC had difficulty filling the
position. Previous UC Title IX Coordinators have been named in Federal Civil Rights lawsuits in this
Court and in other federal courts. For example, in Doe v. University of Cincinnati, 223 F. Supp. 3d 704
(S.D. Ohio 2016), aff'd 873 F.3d 393 (6th Cir. 2017), this Court granted a preliminary injunction
prohibiting the UC Title IX coordinator and other administrators from suspending a student who had
alleged that the school had acted in violation of his constitutional due process right to confront adverse
witnesses. Another former Title IX Director was named as a defendant in a federal lawsuit in the
District of Montana, Powell v. Montana State Univ., et al., D. Montana No. CV17-15. (See e.g. Complaint
¶14(b).)

                                                      2
 Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 3 of 14 PAGEID #: 49



       Goldblum was fired because of her complaints about the “William Houston Matter.”

(Complaint ¶¶55, 65.) William Houston was a student at UC who had previously been a Bowling

Green State University football player. Houston left Bowling Green after he was convicted of gross

sexual imposition in court and was suspended by Bowling Green State University after the school

determined he violated school policies prohibiting “sexual contact without permission.” In January

2019, the UC College of Arts and Sciences published on online article highlighting UC “students who

show the passion and drive to complete their degree despite facing … roller-coaster challenges.”

(Complaint ¶19.) Houston was profiled in the article as one of the students honored with a “triumph

cord” at graduation.2   The article, along with a picture of Houston, were promoted by UC on its

Facebook at Twitter pages. Complaint ¶¶21-22.)

       Many students at UC, including survivors of sexual assault, responded negatively to the article.

These students indicated that they did not feel safe on campus and were traumatized to learn that a

sex offender had been living and studying amongst them. (Complaint ¶¶19-21.) Goldblum became

aware of the complaints and comments and believed that her job required her to respond by offering

resources to those who were traumatized by the Houston article and awards and letting them know

they had been heard by the UC Administration. In particular, the Complaint alleges:

       Goldblum, in her role as Title IX coordinator, was concerned that the promotion of
       Houston was a practice that fostered the creation of a sexually hostile environment
       and made female UC students vulnerable to sexual assault.

(Complaint ¶22(b).) On or about February 5, 2019, Goldblum spoke with Dr. Marshall and the UC

Director of Communications. Goldblum told Dr. Marshall and the Director of Communications that




   2
     The article is currently available at https://www.uc.edu/news/articles/2019/01/n2060727.html,
but the references to Houston have been deleted.

                                                    3
 Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 4 of 14 PAGEID #: 50



UC could be in violation of Title IX if resources were not specifically offered to students who may

have negative responses to UC giving an award to a convicted sex offender.3            (Complaint ¶23.)

Goldblum was advised by Dr. Marshall, that the matter “was being considered” and that “a response

would be forthcoming.”

        No response was provided. (Complaint ¶¶25-26.) Goldblum started an informal investigation

into the admission of Houston. Goldblum was particularly interested in determining whether any UC

personnel had knowledge that Houston was a convicted sex offender either prior to his admission or

prior to his receipt of an award. (Complaint ¶38.)

        Goldblum proceeded to draft a letter addressing the students who had complained and listing

possible resources. A draft of this letter was provided to Dr. Marshall. Dr. Marshall advised that the

letter was deemed to be unsatisfactory and not to send the letter. Despite repeated requests, Dr.

Marshall provided no further response on the Houston matter. On February 12, 2019, Goldblum

advised Dr. Marshall that she was going to send the letter to the student newspaper. Goldblum waited

for a response from Dr. Marshall until after 5:00 p.m. When no objection was received, Goldblum

sent the letter via email to the student newspaper. The letter was never published. (See generally

Complaint ¶¶27-36.) Dr. Marshall was angry that Goldblum had sent the letter. Goldblum was




    3
      Goldblum shared her belief that UC may have created a hostile environment in violation of Title
IX because giving an award to a convicted sex offender could deny or limit the ability of some students
to participate in or benefit from UC’s programs or activities. This is a legitimate concern. In a recent
case, the Tenth Circuit held that a school could violate Title IX if the school’s indifference made
students “vulnerable to harassment by alleging that the fear of running into their student-rapists caused
them, among other things, to struggle in school, lose a scholarship, withdraw from activities… and
avoid going anywhere on campus without being accompanied by friends or sorority sisters.” Farmer
v. Kansas State Univ., 918 F.3d 1094, 1104-1105 (10th Cir. 2019).

                                                     4
 Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 5 of 14 PAGEID #: 51



advised not to “ever do anything like that again.” Goldblum agreed and believed that the matter

concerning the letter had been resolved. (Complaint ¶¶34-35.)

          On or about March 15, 2019, Goldblum was called into a meeting in Dr. Marshall’s office. A

representative from HR and a police officer were present. Goldblum was told that since she had sent

the letter to the student newspaper, she was insubordinate and must resign immediately or she would

be terminated. Goldblum chose to resign, instead.4 (Complaint ¶¶39-40.) This litigation followed.

                                              ARGUMENT

A.        Standard

         In deciding whether to grant a Rule 12(b)(6) motion, this Court is required to accept all well-

pleaded factual allegations of the Amended Complaint as true and construe the complaint in the light

most favorable to the plaintiffs. Reilly v. Vadlamudi, 680 F.3d 617, 622 (6th Cir. 2012), quoting Dubay v.

Wells, 506 F.3d 422, 426 (6th Cir. 2007). The Amended Complaint will survive a motion to dismiss if

it “contain[s] sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on

its face,’” that is, “that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). See also Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007).

B.        The Title IX Retaliation Claim

          1.      Elements Of Title IX Retaliation Claims

          Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. §§ 1681 et seq., and its

implementing regulations, 34 C.F.R. Part 106, prohibit discrimination on the basis of sex in education




     4
    Goldblum’s resignation was the equivalent of a termination or a constructive discharge.
(Complaint ¶42.)

                                                        5
 Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 6 of 14 PAGEID #: 52



programs or activities operated by recipients of Federal financial assistance. Title IX provides in

pertinent part: “No person . . . shall, on the basis of sex, be excluded from participation in, be denied

the benefits of, or be subjected to discrimination under any education program or activity receiving

Federal financial assistance.” The Supreme Court has held that “[r]etaliation against individuals

because they complain of sex discrimination is ‘intentional conduct that violates the clear terms of

[Title IX].’” Jackson v. Birmingham Board of Education, 544 U.S. 167, 183 (2005), quoting Davis ex rel.

LaShonda D. v. Monroe Cty. Bd. of Educ., 526 U.S. 629, 642 (1999).

        A plaintiff can establish a prima facie case of retaliation by demonstrating: (1) she engaged in

protected conduct; (2) the defendant had knowledge of the protected conduct; (3) she suffered adverse

school-related action; and (4) there exists a causal connection between her protected conduct and the

adverse action. King v. Curtis, W.D.Mich. No. 1:14-cv-403, 2016 U.S. Dist. LEXIS 184737, at *35

(Nov. 1, 2016), citing Gordon v. Traverse City Area Public Schools, 182 F. Supp. 3d 715 (W.D. Mich. 2016).

Courts generally look to Title VII as an analog for the legal standards to apply in Title IX

discrimination and retaliation claims. Nelson v. Christian Bros. Univ., 226 Fed.Appx. 448, 454 (6th Cir.

2007); Arceneaux v. Vanderbilt Univ., 25 Fed. Appx. 345, 347 (6th Cir. 2001).

        2.      The Manager Rule

        Defendant alleges that Goldblum could not have engaged in protected activity because of the

“manager rule.” Def. Memo at 7, citing inter alia Kelley v. Iowa State Univ. of Science & Technology, 311 F.

Supp. 3d 1051 (S.D.Iowa 2018). Under the “manager rule,” “complaints made within the scope of an

employee's job cannot constitute protected conduct” for the purposes of a Title IX or Title VII

retaliation claim. Kelley, 311 F. Supp. 3d at 1069.

        Defendant’s argument fails because the Sixth Circuit has rejected the substance of the

“manager rule” in the anti-discrimination context, limiting it to retaliation claims brought under the

                                                       6
 Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 7 of 14 PAGEID #: 53



Fair Labor Standards Act (“FLSA”). Johnson v. Univ. of Cincinnati, 215 F.3d 561 (6th Cir. 2000), cert.

denied, 531 U.S. 1052 (2000); Warren v. Ohio Dept. of Pub. Safety, 24 F.App'x 259 (6th Cir. 2001). In

Johnson, the UC Vice President of Human Resources and Human Relations alleged that he had been

terminated “because of [his] advocacy on behalf of minorities and his filing of an EEOC claim against

the University.” 215 F.3d at 566. UC in that case sought to apply the “manager rule” to the retaliation

claim under Title VII. The school argued, as in this case, that the plaintiff did not engage in protected

activity because he was a high-level official at the school who “had a contractual duty to voice such

concerns.” 215 F.3d at 579. The Sixth Circuit rejected this argument, explaining that it “runs counter

to the broad approach used when considering a claim for retaliation…, as well as the spirit and purpose

behind Title VII as a broad remedial scheme.” 215 F.3d at 580. The court emphasized that an

employee’s duties is “of no consequence” in a retaliation claim. Id. The Johnson decision was re-

affirmed by the Sixth Circuit in Warren. In Warren the Sixth Circuit explained that the Johnson decision

broadly means, “There is no qualification on who the individual doing the complaining may be or on

who the party to whom the complaint is made.” 24 F.App'x at 265

        The Fourth Circuit has followed the Sixth Circuit in rejecting the application of the ”manager

rule” to retaliation claims brought under anti-discrimination statutes. DeMasters v. Carilion Clinic, 796

F.3d 409, 423-424 (4th Cir. 2015). In DeMasters the Fourth Circuit observed that UC v. Johnson was

the “only other Court of Appeals that has addressed the issue in a precedential opinion.” The

DeMasters court, in also declining to extend the “manager rule” from the FLSA to the Title VII context,

explained, “the statutory protection accorded an employee's oppositional conduct” does not turn ‘on

the employee's job description.” 796 F.3d 409 at 422. The court stated unequivocally: “the ‘manager

rule’ has no place in Title VII enforcement.” 796 F.3d at 424. The Second Circuit has reached a

similar conclusion. Littlejohn v. City of New York, 795 F.3d 297, 317 n. 16 (2d Cir. 2015) (“[W]e

                                                     7
 Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 8 of 14 PAGEID #: 54



decline to adopt the manager rule here. The manager rule's focus on an employee’s job duties, rather

than the oppositional nature of the employee's complaints or criticisms, is inapposite...”). See also

Armour v. Homer Tree Servs., N.D.Ill. No. 15 C 10305, 2017 U.S. Dist. LEXIS 175476, at *29-30 (Oct.

24, 2017) (observing that “the manager rule… would be inordinately difficult to apply in practice in

cases involving claims under” anti-discrimination statutes); Chapman v. Milwaukee Cty., 151 F. Supp. 3d

892, 900 (E.D.Wis.2015) (concluding that adopting the manager rule “would undermine the overall

purpose of deterring and preventing discrimination”).

        The “manager rule” has, to the best of Plaintiff’s research, never been applied in a Title IX or

a Title VII case in the Sixth Circuit.5 Plaintiff is also not aware of any case applying the “manager

rule” to preclude a claim under Title IX. Rather, a number of courts have specifically declined to



    5
     Defendant does not cite any Sixth Circuit cases – whether from the Court of Appeals or a District
Court in this Circuit. A Lexis search for the term “manager rule” among Sixth Circuit cases revealed
only three decisions: Brabson v. Sears, Roebuck & Co., E.D.Tenn. No. 3:14-cv-336, 2016 U.S. Dist.
LEXIS 141715 (Oct. 13, 2016); Rogers v. Webstaurant Store, Inc., W.D.Ky. No. 4:18-CV-00075-JHM,
2018 U.S. Dist. LEXIS 198321 (Nov. 20, 2018); Ross v. Fluid Routing Solutions, Inc., W.D.Tenn. No.
1:12-cv-01269-JDB-egb, 2014 U.S. Dist. LEXIS 71023 (May 23, 2014). Brabson and Rogers both
involved FLSA, not Title IX or Title VII, claims. In Ross, the court, relying on Johnson, declined to
extend the “manager rule” from the FLSA context to a Title VII claim. 2014 U.S. Dist. LEXIS 71023
at *42-43.
Defendant’s reliance on Atkinson v. Lafayette College, 653 F.Supp.2d 581 (E.D.Pa.2009), is misplaced
both legally and factually. Legally, the Atkinson decision relied primarily (and incorrectly) on Garcetti
v. Ceballos, 547 U.S. 410, (2006), a First Amendment case, and a number of FLSA cases. Factually, in
Atkinson the plaintiff had done nothing more than advocate for funding for Title IX compliance. The
court observed that plaintiff’s “general complaints only tangentially involved Title IX.” 653 F.Supp.2d
at 602. Other courts have declined to follow Atkinson. See e.g. Bolla v. Univ. of Hawaii, D.Haw. No. 09-
00165, 2010 U.S. Dist. LEXIS 134143, at *29 (Dec. 16, 2010) (“The court is not persuaded by
Atkinson.”); Robinson v. Wichita State Univ., D.Kan. No. 16-2138-DDC-GLR, 2018 U.S. Dist. LEXIS
22983, at *13 (Feb. 13, 2018) (“This Complaint, unlike the summary judgment record in Atkinson,
sufficiently alleges that plaintiff engaged in protected activity…”); Odoms v. YWCA of Bucks Cty.,
E.D.Pa. No. 12-7146, 2013 U.S. Dist. LEXIS 89595, at *9-10 (June 25, 2013) (“Plaintiff's actions were
adversely taken against her employer, which distinguishes the present matter from the Atkinson case.”).



                                                     8
 Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 9 of 14 PAGEID #: 55



extend the rule to the Title IX context. See Kailikole v. Palomar Community College Dist., S.D.Cal. No. 18-

CV-02877-AJB-MSB, 2019 U.S. Dist. LEXIS 71167, at *9 (Apr. 26, 2019) (“applying the ‘manager

rule’ to… Title IX… would potentially eliminate a large category of workers from its anti-retaliation

protections”); Robinson v. Wichita State Univ., D.Kan. No. 16-2138-DDC-GLR, 2018 U.S. Dist. LEXIS

22983, at *14 (Feb. 13, 2018) (“manager rule” was inapplicable to Title IX retaliation claim brought

by employee who “investigated alleged sexual assaults” under school’s Title IX policy).

        Finally, even if the “manager rule” applies, the Kelley case, cited by Defendant, actually suggests

that dismissal is not warranted. In Kelley, a university Title IX coordinator alleged that she was

terminated in retaliation for her complaints she complained about the school’s failure to comply with

Title IX. The court denied a motion to dismiss based on the “manager rule.”6 The school in Kelley

argued, like UC in this case, that the Title IX Coordinator was simply doing her job. The court rejected

this argument, finding that school directives that she remain silent “would have stifled [the Title IX

Coordinator] from complaining” about possible violations of Title IX. This conclusion is consistent

with another case cited by Defendant, EEOC v. HBE Corp., 135 F.3d 543 (8th Cir. 1998). In HBE,

the Eighth Circuit adopted the “manager rule” without much about its applicability to the Title VII

or Title IX retaliation context. Instead the Eighth Circuit severely limited the scope of the “manager

rule” in the Title VII context, holding that a requirement of “‘stepping outside’ a normal role is

satisfied by a showing that the employee took some action against a discriminatory policy” 135 F.3d

at 554, citing McKenzie v. Renberg's, Inc., 94 F.3d 1478, 1486-87 (10th Cir. 1996).




    6
     In Kelley the plaintiff did not contest “that HN21 the manager rule extends to Title IX retaliation
claims.” 311 F. Supp. 3d at 1069. Given the state of the law on this issue, this is a very strange
position for a plaintiff to take.

                                                       9
Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 10 of 14 PAGEID #: 56



    3. The Letter and Causation

        Defendant argues that the letter to the student newspaper described in ¶¶27-36 of the

Complaint did not involve protected activity, but, instead, was a “vague complaint.”7 Def. Memo. at

10, citing Soehner v. Time Warner Cable, Inc., S.D.Ohio No. 1:08-cv-166, 2009 U.S. Dist. LEXIS 106619

(Nov. 16, 2009).8 The letter, however, was not the only activity undertaken by Goldblum in connect

with the Houston matter. Rather, the Complaint specifically alleges that Goldblum met with UC

administrators and informed them in detail of her concerns that the article about Houston constituted

a Title IX violation. The Complaint states:

        On or about February 5, 2019, Goldblum met with Dr. Marshall and the UC Director
        of Communications.          Goldblum told Dr. Marshall and the Director of
        Communications that UC could be in violation of Title IX if resources were not
        specifically offered to students who may have negative responses to UC giving an
        award to a convicted sex offender.
                a.       Goldblum shared her belief that UC may have created a hostile
            environment in violation of Title IX because giving an award to a convicted sex
            offender could deny or limit the ability of some students to participate in or benefit
            from UC’s programs or activities.
                b.       In particular, Goldblum communicated that she was concerned that
            UC’s actions could create a hostile environment in violation of Title IX if students



    7
      Defendant notes that Goldblum did not attach this letter to the Complaint. In part, this was
because Plaintiff did not have access to the letter. As described in ¶41 of the Complaint, Goldblum
was escorted to her vehicle “was not allowed access to the computer…” As a result, Plaintiff cannot
confirm that this is a true and accurate copy of the letter actually sent to the student newspaper. “If
there are disputed material issues of fact regarding the enforceability or validity of a document, it
should not be considered when deciding a motion to dismiss.” Burns v. United States, 542 F.App'x 461,
466 (6th Cir. 2013), citing Ouwinga v. Benistar 419 Plan Servs. Inc., 694 F.3d 783, 797 (6th Cir. 2012). Cf
Stinson v. Prudential Ins. Co. of Am., 857 F.Supp.2d 681, 684 n. 4 (S.D.Ohio 2012) (declining to consider
letter attached by Defendant to reply brief, in part, because opposing party “has not had the
opportunity to voice its opinion on the accuracy… of the letter”).
    8
     The Sixth Circuit will not permit a retaliation claim based on a “vague charge of discrimination.”
Booker v. Brown & Williamson Tobacco Co., 879 F.2d 1304, 1313 (6th Cir. 1989). However, the Sixth
Circuit “does not . . . require that the plaintiff's complaint be lodged with absolute formality, clarity,
or precision.” Stevens v. Saint Elizabeth Med. Ctr., Inc., 533 F. App'x 624, 631 (6th Cir. 2013).

                                                      10
Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 11 of 14 PAGEID #: 57



            who are survivors of sexual assault were triggered by UC giving an award to a
            convicted sex offender were not provided with adequate resources.

(Complaint ¶22.) The Complaint further describes how Goldblum, in her role as the Title IX

Coordinator, had started “conducting an initial inquiry into whether [Houston’s] admission or

presence on campus with minimal restrictions and without informing the student body violated any

of the UC Title IX policies.” (Complaint ¶35.)

        This communication was sufficient to adequately describe the nature of the alleged legal

violation and concrete enough to alert UC about the potential Title IX issues. See Yazdian v. ConMed

Endoscopic Technologies, Inc., 793 F.3d 634, 646 (6th Cir.2015) (complaints about allegedly unlawful

discrimination put defendant “on notice”). If a plaintiff complains to anyone who works for her

employer about allegedly unlawful practices, that constitutes protected opposition activity. Johnson,

215 F.3d at 579; Butts v. McCullough, 237 F. App'x 1, 5 (6th Cir. 2007). Goldblum has engaged in a

legally protected activity if her opposition to a practice was reasonable and based on a good-faith belief

that UC was acting in violation of Title IX. See Barrett v. Whirlpool Corp., 556 F.3d 502, 516 (6th Cir.

2009) (discussing protected activity in Title VII context). This is an easy standard to meet; the Sixth

Circuit in Barrett, for example, held that an “employee has engaged in opposing activity when she

complains about unlawful practices to a manager, the union, or other employees.” 556 F.3d at 516.

See e.g. Crawford v. E. Kentucky Univ., E.D.Ky. Civil Action No. 5:17-CV-309-CHB, 2019 U.S. Dist.

LEXIS 26767, at *30 (Feb. 20, 2019) (informal discussion of discrimination informally with several

members of the college staff, combined with an email indicating possible discriminatory environment,

sufficient). Compare PoplinFox v. Eagle Distrib. Co., 510 F.3d 587, 592 (6th Cir. 2007) (record does not

contain any evidence that specifically alleged discriminatory employment practices in his discussion

with supervisors).



                                                     11
 Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 12 of 14 PAGEID #: 58



        In terms of causation, a plaintiffs' prima facie burden to show a “causal connection” is a burden

“easily met.” See McClain v. Nw. Cmty. Corrs. Ctr. Judicial Corrs. Bd., 440 F.3d 320, 335 (6th Cir. 2006);

Henry v. Abbott Labs., 6th Cir. No. 15-4165, 2016 U.S. App. LEXIS 10604, at *27-28 (June 10, 2016).

Timing, alone, can provide evidence of causation under Sixth Circuit Title VII precedent. Mickey v.

Zeidler Tool & Die Co., 516 F.3d 516 (6th Cir. 2008). In Mickey, for example, the Sixth Circuit held that

in situations where the protected activity and adverse action occur extremely close in time, temporal

proximity alone may provide a causal inference. “Where an adverse employment action occurs very

close in time after an employer learns of a protected activity, such temporal proximity between the

events is significant enough to constitute evidence of a causal connection for the purposes of satisfying

a prima facie case of retaliation.” Id. at 525. See also Montell v. Diversified Clinical Servs., Inc., 757 F.3d 497,

505 (6th Cir. 2014) (“Where an adverse employment action occurs very close in time after an employer

learns of a protected activity, such temporal proximity between the events is significant enough to

constitute evidence of a causal connection for the purposes of satisfying a prima facie case of

retaliation.”); Amos v. McNairy Cty., 622 F. App'x 529, 537 (6th Cir. 2015) (“Even after [University of

Texas Southwestern Medical Center v.] Nassar[, 133 S. Ct. 2517 (2013)], . . . this court has explicitly

held that temporal proximity alone can establish causation.").

        Defendant’s primary argument is that Dr. Marshall (and UC, by extension) were unaware of

Goldblum’s investigation. This is contrary to the allegations of the Complaint. The Complaint alleges

that Goldblum was terminated specifically “to prevent her from conducting an adequate

investigation…” into the Houston matter. (Complaint ¶42.) The Complaint further alleges:

        The adverse action against Goldblum was directly related to her in investigation and
        reporting of possible violations of Title IX by UC and was deigned to punish and
        intimidate Goldblum from publicly disclosing potential misconduct by UC officials.




                                                          12
Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 13 of 14 PAGEID #: 59



(Complaint ¶50.) Under relevant Sixth Circuit precedent discriminatory “Causation can be proven

indirectly through circumstantial evidence such as suspicious timing.” Lindsay v. Yates, 578 F.3d 407,

418 (6th Cir. 2009), citing Mickey., 516 F.3d at 525; Fuhr v. Hazel Park School District, 710 F.3d 668, 676

(6th Cir. 2013) (“temporal proximity always plays a role in establishing a causal connection; its

significance depends on the context.”). In this case, the timing of Defendant’s actions easily fit the

description of ‘suspicious.’ Defendant provides no alternative explanation for the timing of its actions

beyond suggesting that Goldblum was really terminated for being insubordinate. Def. Memo. at 11

n. 3. However, the Complaint alleges that the claim of insubordination was pretextual. (Complaint

¶38.) See Marcum v. Bd. of Edn. of Bloom-Carroll Local School Dist., 727 F.Supp.2d 657, 671 (S.D.Ohio

2010) (“temporal proximity… create[d] an inference that Plaintiffs' complaints motivated these

disciplinary actions.”).

C.      Title VII Claim

        Plaintiff brought a Title VII claim as an alternative in the event that UC argued that Plaintiff’s

Title IX claims are preempted by Title VII. See Whitson v. Tennessee, E.D.Tenn. No. 1:16-cv-9, 2017

U.S. Dist. LEXIS 119602, at *22, n. 19 (July 31, 2017), citing Arceneaux v. Vanderbilt Univ., 25 Fed. App'x

345 (6th Cir. 2001); Weaver v. Ohio St. Univ., 194 F.3d 1315 (table) (6th Cir. 1999). UC has not made

this argument.

        UC’s argument that Title VII is not applicable is unavailing. When a funding recipient

retaliates against a person because she complains of sex discrimination, that violates Title VII and Title

IX. Congress has provided a “variety of remedies, at times overlapping, to eradicate” employment

discrimination. N. Haven Bd. of Edn. v. Bell, 456 U.S. 512, 535 n. 26 (1982), citing Electrical Workers v.

Robbins & Myers, Inc., 429 U.S. 229 (1976); Johnson v. Railway Express Agency, Inc., 421 U.S. 454 (1975);

Alexander v. Gardner-Denver Co., 415 U.S. 36 (1974). The Sixth Circuit, in an unpublished opinion, has

                                                      13
Case: 1:19-cv-00398-SJD-SKB Doc #: 9 Filed: 08/01/19 Page: 14 of 14 PAGEID #: 60



suggested that employment discrimination claims may be pursued under both Title VII and Title IX.

Ivan v. Kent State Univ., 6th Cir. No. 94-4090, 1996 U.S. App. LEXIS 22269, at *2 n.10 (July 26, 1996)

(unpublished table decision).

                                          CONCLUSION

       The Motion should be denied.

                                                         Respectfully submitted,


                                                                /s/ Joshua A. Engel
                                                         Joshua Adam Engel (0075769)
                                                         Jim Hardin (0056247)
                                                         ENGEL AND MARTIN, LLC
                                                         4660 Duke Dr., Suite 101
                                                         Mason, OH 45040
                                                         (513) 445-9600
                                                         engel@engelandmartin.com


                                     CERTIFICATE OF SERVICE
   I hereby certify that a copy of the foregoing has been electronically served via the ECF system this
August 1, 2019 upon all counsel of record.

       /s/ Joshua Engel
   Joshua Adam Engel (0075769)




                                                    14
